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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ERIC SWALWELL,

       Plaintiff,

 v.                                                   Civil Action No. 1:21-cv-00586-APM

 DONALD J. TRUMP, DONALD J. TRUMP,
 JR., REP. MO BROOKS, and RUDOLPH
 GIULIANI,

       Defendants,



            DEFENDANTS DONALD J. TRUMP, DONALD J. TRUMP, JR.,
                AND RUDOLPH GIULIANI’S UNOPPOSED MOTION
         TO SET BRIEFING SCHEDULE TO FILE CONSOLIDATED REPLIES
      TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS AND TO AMICUS
                     BRIEFS AND TO EXCEED PAGE LIMIT

       Pursuant to Pursuant to FED. R. CIV. P. 6(b) and L.R. 7, Defendants Donald J. Trump,

Donald J. Trump, Jr., and Rudolph Giuliani hereby file their Unopposed Motion to Set Briefing

Schedule to File Consolidated Replies to Plaintiff’s Opposition [Doc. 23] to Defendants’ Motions

to Dismiss [Docs. 13-14] and to Amicus Briefs and to Exceed Page Limit.

       Under the parties’ previously agreed briefing schedule, Defendants’ Reply Briefs to

Plaintiff’s Opposition are due on July 22, 2021. However, since the filing of the Opposition,

multiple Amicus Briefs have been filed in support of Plaintiff’s Opposition. Therefore, Defendants

seek leave to extend their deadline to file a Reply to the Opposition until August 16, 2021 that

shall also incorporate replies, where Defendants deem it applicable, to the Amicus Briefs. As such,

Defendants seek leave to file exceed the normal page limit of 25 pages and to allow the Trump

Parties and Giuliani each 50 pages to reply to both Plaintiff’s Opposition and the Amicus Briefs.




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       Allowing Defendants leave to extend their Reply deadline and to exceed pages limits will

allow Defendants to each address all outstanding issues in their respective Reply Briefs, and will

spare Defendants the labor of having to potentially respond to multiple briefs on similar points in

a series of piecemeal reply briefs. Therefore, granting this Motion will promote judicial economy

and streamline the issues before the Court.

       Plaintiff does not oppose the relief requested herein. Accordingly, Defendants pray that

the Court extend their time to file their Reply Brief to Plaintiff’s Opposition and Amicus Briefs be

extended to August 16, 2021, and that the Trump Defendants and Giuliani each be permitted to

exceed page limits up to and including a total of 50 pages.

Date: July 17, 2021

                                              Respectfully submitted,

                                              By: /s/ Joseph D. Sibley IV

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                                              ATTORNEYS FOR RUDOLPH GIULIANI

                                              By: /s/ Jesse R. Binnall

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                                               ATTORNEYS FOR DONALD J. TRUMP and
                                               DONALD J. TRUMP, JR.




                              CERTIFICATE OF CONFERENCE

       I hereby certify that on this 16th day of July, 2021, I conferred on the relief requested herein
with Plaintiff’s counsel via email and they are unopposed.


                                           /s/ Joseph D. Sibley IV
                                                Joseph D. Sibley IV




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 17th day of July, 2021, I electronically filed the foregoing
motion—together with the accompanying proposed order—with the Clerk of the Court using the
CM/ECF system, which I understand to have caused service on all counsel of record.


                                            /s/ Joseph D. Sibley IV
                                            Joseph D. Sibley IV




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